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                       UNITED STATES BANKRUPTCY COURT
                         EASTERN DISTRICT OF MISSOURI
                               EASTERN DIVISION



                                        )
 In re:                                 )   Case No. 19-40883-659
                                        )   CHAPTER 11
 PAYLESS HOLDINGS LLC,                  )
                                        )
 Debtor.                                )
                                        )
 Tax I.D. 80-085570
                                        )
                                        )
 In re:                                 )   Case No. 19-40886
                                        )   CHAPTER 11
 PAYLESS INTERMEDIATE HOLDINGS,         )
 LLC,                                   )
                                        )
 Debtor.                                )
                                        )
 Tax I.D. XX-XXXXXXX
                                        )
 In re:                                 )   Case No. 19-40889
                                        )   CHAPTER 11
 WBG-PSS HOLDINGS LLC,                  )
                                        )
 Debtor.                                )
                                        )
 Tax I.D. XX-XXXXXXX
                                        )
                                        )
 In re:                                 )   Case No. 19-40890
                                        )   CHAPTER 11
 PAYLESS INC.,                          )
                                        )
 Debtor.                                )
                                        )
 Tax I.D. XX-XXXXXXX
                                        )
                                        )
 In re:                                 )   Case No. 19-40892
                                        )   CHAPTER 11
 PAYLESS FINANCE INC.,                  )
                                        )
 Debtor.                                )
                                        )
 Tax I.D. XX-XXXXXXX
                                        )
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                                   )
 In re:                            )        Case No. 19-40910
                                   )        CHAPTER 11
 COLLECTIVE BRANDS SERVICES, INC., )
                                   )
 Debtor.                           )
                                   )
 Tax I.D. XX-XXXXXXX
                                   )
                                   )
 In re:                            )        Case No. 19-40884
                                   )        CHAPTER 11
 PSS DELAWARE COMPANY 4, INC.,     )
                                   )
 Debtor.                           )
                                   )
 Tax I.D. XX-XXXXXXX
                                   )
                                   )
 In re:                            )        Case No. 19-40898
                                   )        CHAPTER 11
 SHOE SOURCING, INC.,              )
                                   )
 Debtor.                           )
                                   )
 Tax I.D. XX-XXXXXXX
                                   )
                                   )
 In re:                            )        Case No. 19-40882
                                   )        CHAPTER 11
 PAYLESS SHOESOURCE, INC.,         )
                                   )
 Debtor.                           )
                                   )
 Tax I.D. XX-XXXXXXX
                                   )
                                   )
 In re:                            )        Case No. 19-40888
                                   )        CHAPTER 11
 EASTBOROUGH, INC.,                )
                                   )
 Debtor.                           )
                                   )
 Tax I.D. XX-XXXXXXX
                                   )




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                                        )
 In re:                                 )       Case No. 19-40903
                                        )       CHAPTER 11
 PAYLESS PURCHASING SERVICES,           )
 INC.,                                  )
                                        )
 Debtor.                                )
                                        )
 Tax I.D. XX-XXXXXXX
                                        )
 In re:                                 )       Case No. 19-40907
                                        )       CHAPTER 11
 PAYLESS SHOESOURCE                     )
 MERCHANDISING, INC.,                   )
                                        )
 Debtor.                                )
                                        )
 Tax I.D. XX-XXXXXXX
                                        )
 In re:                                 )       Case No. 19-40885
                                        )       CHAPTER 11
 PAYLESS GOLD VALUE CO, INC.,           )
                                        )
 Debtor.                                )
                                        )
 Tax I.D. XX-XXXXXXX
                                        )
                                        )
 In re:                                 )       Case No. 19-40894
                                        )       CHAPTER 11
 PAYLESS SHOESOURCE                     )
 DISTRIBUTION, INC.,                    )
                                        )
 Debtor.                                )
                                        )
 Tax I.D. XX-XXXXXXX
                               )
 In re:                        )                Case No. 19-40896
                               )                CHAPTER 11
 PAYLESS SHOESOURCE WORLDWIDE, )
 INC.,                         )
                               )
 Debtor.                       )
                               )
 Tax I.D. XX-XXXXXXX




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                                        )
 In re:                                 )       Case No. 19-40901
                                        )       CHAPTER 11
 PAYLESS NYC, INC.,                     )
                                        )
 Debtor.                                )
                                        )
 Tax I.D. XX-XXXXXXX
                                        )
                                        )
 In re:                                 )       Case No. 19-40906
                                        )       CHAPTER 11
 PAYLESS SHOESOURCE OF PUERTO           )
 RICO, INC.,                            )
                                        )
 Debtor.                                )
                                        )
 Tax I.D. XX-XXXXXXX
                                        )
 In re:                                 )       Case No. 19-40887
                                        )       CHAPTER 11
 PAYLESS COLLECTIVE GP, LLC,            )
                                        )
 Debtor.                                )
                                        )
 Tax I.D. XX-XXXXXXX
                                        )
                                        )
 In re:                                 )       Case No. 19-40908
                                        )       CHAPTER 11
 COLLECTIVE LICENSING, LP,              )
                                        )
 Debtor.                                )
                                        )
 Tax I.D. XX-XXXXXXX
                                        )
                                        )
 In re:                                 )       Case No. 19-40891
                                        )       CHAPTER 11
 COLLECTIVE LICENSING                   )
 INTERNATIONAL, LLC,                    )
                                        )
 Debtor.                                )
                                        )
 Tax I.D. XX-XXXXXXX




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                                        )
 In re:                                 )       Case No. 19-40900
                                        )       CHAPTER 11
 CLINCH, LLC,                           )
                                        )
 Debtor.                                )
                                        )
 Tax I.D. XX-XXXXXXX
                                        )
                                        )
 In re:                                 )       Case No. 19-40893
                                        )       CHAPTER 11
 COLLECTIVE BRANDS FRANCHISING          )
 SERVICES, LLC,                         )
                                        )
 Debtor.                                )
                                        )
 Tax I.D. XX-XXXXXXX
                                        )
 In re:                                 )       Case No. 19-40905
                                        )       CHAPTER 11
 PAYLESS INTERNATIONAL                  )
 FRANCHISING, LLC,                      )
                                        )
 Debtor.                                )
                                        )
 Tax I.D. XX-XXXXXXX
                                        )
 In re:                                 )       Case No. 19-40902
                                        )       CHAPTER 11
 PSS CANADA, INC.,                      )
                                        )
 Debtor.                                )
                                        )
 Tax I.D. XX-XXXXXXX
                                        )
                                        )
 In re:                                 )       Case No. 19-40895
                                        )       CHAPTER 11
 PAYLESS SHOESOURCE CANADA,             )
 INC.,                                  )
                                        )
 Debtor.                                )
                                        )
 Tax I.D. XX-XXXXXXX




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                                                          )
 In re:                                                   )       Case No. 19-40899
                                                          )       CHAPTER 11
 PAYLESS SHOESOURCE CANADA GP,                            )
 INC.,                                                    )
                                                          )
 Debtor.                                                  )
                                                          )
 Tax I.D. XX-XXXXXXX
                                  )
 In re:                           )                               Case No. 19-40897
                                  )                               CHAPTER 11
 PAYLESS SHOESOURCE CANADA, L.P., )
                                  )
 Debtor.                          )
                                  )
 Tax I.D. XX-XXXXXXX
                                  )

                     ORDER (I) DIRECTING JOINT ADMINISTRATION OF
                   CHAPTER 11 CASES AND (II) GRANTING RELATED RELIEF

            Upon the motion (the “Motion”)1 of the above-captioned debtors and debtors in

 possession (collectively, the “Debtors”) for entry of an order (this “Order”): (i) directing the joint

 administration of the Debtors’ chapter 11 cases for procedural purposes only and (ii) granting

 related relief, all as more fully set forth in the Motion; and upon the First Day Declaration; and

 the Court having jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334 and Rule

 81-9.01(B)(1) of the Local Rules of the United States District Court for the Eastern District of

 Missouri; and the Court having found that this is a core proceeding pursuant to 28 U.S.C.

 § 157(b)(2); and the Court having found that venue of this proceeding and the Motion in this

 district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and the Court having reviewed the

 Motion and having heard the statements in support of the relief requested therein at a hearing, if

 any, before the Court (the “Hearing”); and the Court having determined that the legal and factual

 bases set forth in the Motion and at the Hearing establish just cause for the relief granted herein;


 1
     Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the Motion.




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 and upon all of the proceedings had before the Court and after due deliberation and sufficient

 cause therefore; it is HEREBY ORDERED THAT:

          1.    The Motion is GRANTED as set forth herein.

          2.    The above-captioned cases are consolidated for procedural purposes only and

 shall be administered jointly under Case No. 19-40883-659 (the “Lead Case”) in accordance with

 the provisions of Bankruptcy Rule 1015(B). All pleadings and other documents to be filed in the

 jointly administered cases shall be filed and docketed in Case No. 19-40883-659.

          3.    The caption of the jointly administered cases shall read as follows:


                           UNITED STATES BANKRUPTCY COURT
                             EASTERN DISTRICT OF MISSOURI
                                   EASTERN DIVISION 

 In re:                                          )   Case No. 19-40883-659
                                                 )   Chapter 11
 PAYLESS HOLDINGS LLC, et al.,                   )
                                                 )   Jointly Administered
                         Debtors.                )
                                                 )
                                                 )
                                                 )


          4.    The foregoing caption satisfies the requirements set forth in Bankruptcy Code

 section 342(c)(1).

          5.    A docket entry shall be made in the chapter 11 cases of each Debtor (except that

 of the Lead Case), substantially as follows:

                         An order has been entered in this case administratively
                         consolidating the cases of Payless Holdings LLC; Payless
                         Intermediate Holdings LLC; WBG-PSS Holdings LLC;
                         Payless Inc; Payless Finance, Inc.; Collective Brands
                         Services, Inc.; PSS Delaware Company 4, Inc.; Shoe
                         Sourcing, Inc.; Payless ShoeSource, Inc.; Eastborough, Inc.;
                         Payless Purchasing Services, Inc.; Payless ShoeSource



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                        Merchandising, Inc.; Payless Gold Value CO, Inc.; Payless
                        ShoeSource Distribution, Inc.; Payless ShoeSource
                        Worldwide, Inc.; Payless NYC, Inc.; Payless ShoeSource of
                        Puerto Rico, Inc.; Payless Collective GP, LLC; Collective
                        Licensing, L.P.; Collective Licensing International, LLC;
                        Clinch, LLC; Collective Brands Franchising Services, LLC;
                        Payless International Franchising, LLC; PSS Canada, Inc.;
                        Payless ShoeSource Canada Inc.; Payless ShoeSource
                        Canada GP Inc.; and Payless ShoeSource Canada LP for
                        procedural purposes only and providing for its joint
                        administration with the terms therein.

        6.      Any creditor, debtor or other party filing a proof of claim against any of the

 Debtors shall clearly assert such claim against the particular Debtor obligated on such claim and

 not against the jointly administered Debtors, except as otherwise provided in any other order of

 this Court.

        7.      One consolidated docket, one file and one consolidated service list shall be

 maintained by the Debtors and kept by the Clerk of the Court with the assistance of the notice

 and claims agent retained by the Debtors in these chapter 11 cases.

        8.      Separate claims registers shall be maintained from the date of this Order forward

 for all claims in all of the separate Debtor cases. Counsel for the Debtors shall consult with the

 Clerk of the Court to prepare applicable forms, notices and procedures to effectuate this

 provision (including a standard form for a proof of claim specific for these cases and

 instructions and bar date notices for submitting proof of claims).

        9.      One mailing matrix shall be maintained for all cases, which the Debtors’ counsel

 shall file as required under this Court’s local rules. The matrix shall include all names and

 addresses comprising of the most current list of the Debtors’ creditors. The matrix shall be

 maintained in the electronic record for the Lead Case.




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           10.   The Debtors shall file monthly operating reports as may be arranged and agreed

 to between the Debtors and the U.S. Trustee. These parties may agree to file a single joint

 monthly operating report with segregated data specific to each Debtor. Each Debtor shall be

 liable for its own U.S. Trustee fees required under 28 U.S.C. § 1930.

           11.   At the U.S. Trustee’s discretion, one creditors committee may be appointed for all

 cases, with members drawn from each of the jointly administered cases with unsecured

 claimants, or separate committees may be appointed for each of the cases.

           12.   Nothing contained in the Motion or this Order shall be deemed or construed as

 directing or otherwise effecting a substantive consolidation of these chapter 11 cases and this

 Order shall be without prejudice to the rights of the Debtors to seek entry of an order

 substantively consolidating their respective cases.

           13.   Notice of the Motion as provided therein shall be deemed good and sufficient

 notice of such motion and the requirements of the local rules of this Court are satisfied by such

 notice.

           14.   Notwithstanding Bankruptcy Rule 6004(h), the terms and conditions of this Order

 are immediately effective and enforceable upon its entry.

           15.   Nothing in this Order shall alter or limit any authorization or relief contained in,

 or prevent Payless ShoeSource Canada Inc., Payless ShoeSource Canada GP Inc., or Payless

 ShoeSource Canada LP (the “Canadian Debtors”) from taking any action authorized pursuant to

 an order issued by the Ontario Superior Court of Justice (Commercial List) (the “Canadian

 Court”) in proceedings in respect of the Canadian Debtors pursuant to the Companies’ Creditors

 Arrangement Act (Canada), and the Canadian Debtors shall be subject to a budget or similar

 restrictions only as established by the Canadian Court. To the extent of any inconsistency




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 between this Order and the terms of any order of the Canadian Court, the order of the Canadian

 Court shall govern with respect to the Canadian Debtors.

         16.     No later than two (2) business days after the date this Order is entered on the

 docket, the Debtors are directed to serve a copy of this Order on the Notice Parties, and are

 directed to file a certificate of service no later than 24 hours after such service.


                                                                KATHY A. SURRATT-STATES
                                                               Chief United States Bankruptcy Judge
  DATED: February 20, 2019
  St. Louis, Missouri
  jjh




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